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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
*

* Case No: 1:21-cr-00526-TSC-1
Vv *
*
*
JEFFERY FINLEY, *
Defendant. *

ORDER
Upon consideration of the Unopposed Motion for a Four Week Extension of Time
‘for Jeffrey Finley to report to the federal institution, good cause having been
shown, it is on this 21st day of March, 2023, by the United States District

Court ofthe District of Columbia,

ORDERED:
1. that the Motion is hereby GRANTED in part and DENIED in part; and
2. that the United States Marshal shall inform the Bureau of Prisons that Mr.

Finley shall not be required to report to the Bureau of Prison until Tuesday, March 28, 2023.

 

2a
Date: S/2t/ 293-3 lay CU

HONORABLE TANYA S. CHUTKAN

United States District Judge
